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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


WALTER KIMBLE                                                               PLAINTIFF
ADC #601717

v.                             No: 4:21-cv-01205-LPR-PSH


SHANE WEST, et al.                                                          DEFENDANTS


                                          JUDGMENT

       Pursuant to the Order filed this date, it is considered, ordered, and adjudged that Plaintiff

Walter Kimble’s complaint is dismissed without prejudice for failure to state a claim upon which

relief may be granted. The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma

pauperis appeal from this Judgment or the accompanying Order would not be taken in good faith.

       IT IS SO ADJUDGED this 31st day of May 2022.




                                                     ________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
